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From: Jennifer C. Pucci
Sent: Wednesday, July 24, 2019 4:54 PM
To: Karen Hurvitz <hurvitzlaw@comcast.net>
Subject: RE: FW: Local Rule 7.1(a)(2) consultation - Dechter v. NPS

I meant to add that I don’t intend to send it, but it is pretty straightforward – a motion to
strike for violation of the local rules.

Thank you.
Jenn


From: Jennifer C. Pucci
Sent: Wednesday, July 24, 2019 4:54 PM
To: Karen Hurvitz <hurvitzlaw@comcast.net>
Subject: RE: FW: Local Rule 7.1(a)(2) consultation - Dechter v. NPS

I’m sorry to hear that. I hope everything is okay.

It is a motion to strike the memorandum of law filed on Monday (D.E. 55). Obviously I
assume you do not agree, but I wanted to do you the courtesy of asking. I assume I
should put in that you do not agree with this motion?

From: Karen Hurvitz <hurvitzlaw@comcast.net>
Sent: Wednesday, July 24, 2019 4:52 PM
To: Jennifer C. Pucci <jpucci@newtonma.gov>
Subject: Re: FW: Local Rule 7.1(a)(2) consultation - Dechter v. NPS



Hi Jenn,

I've been in waiting area of a hospital most of the day and reception is spotty. If you
send me what you're intending to file I can take a look at it tonight when I get home and
let you know.

Thanks.

LAW OFFICE OF KAREN D. HURVITZ
HURVITZLAW@COMCAST.NET
(617) 513-3365

"The only thing necessary for the triumph of evil is that good men do nothing."
                                                                                       -
Edmund Burke
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INTENDED RECIPIENT PLEASE NOTIFY ME AND DELETE THIS MESSAGE FROM YOUR SYSTEM.




On Wed, Jul 24, 2019 at 4:35 PM Jennifer C. Pucci <jpucci@newtonma.gov> wrote:
Hi Karen:

I’m still waiting to hear from you regarding your position on my motion to strike. Please
get back to me when you have a chance regarding this request.

Thank you.
Jenn

From: Jennifer C. Pucci
Sent: Wednesday, July 24, 2019 11:04 AM
To: Karen Hurvitz <hurvitzlaw@comcast.net>
Subject: Local Rule 7.1(a)(2) consultation - Dechter v. NPS

Hi Karen,

I am going to file a motion to strike the memorandum of law you filed on Monday (D.E.
55). I assume you will obviously not agree to this, but I wanted to reach out in
accordance with Rule 7.1 to get your position to include in the motion. If you want to
have a call, I am around today and happy to talk, or please just confirm that you oppose
this request through email so I can include your position in the motion.

Thank you.
Jenn

Jennifer C. Pucci
Assistant City Solicitor
City of Newton Law Department
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Newton Centre, MA 02459
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